                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION
 MATCH GROUP, LLC                                 §
                                                  §
         Plaintiff,                               §
                                                  §
 V.
                                                  §

 BUMBLE TRADING INC. and BUMBLE
 HOLDING, LTD.,                 §
                                                  §
                                                             No. 6:18-cv-00080-ADA
         Defendants.
                                                  §
 BUMBLE TRADING INC. and BUMBLE                   §
 HOLDING, LTD.,                                   §          JURY TRIAL DEMANDED

           Cross-Plaintiffs,                      §
 v.                                               §
                                                  §

 MATCH GROUP, LLC and
 IAC/INTERACTIVECORP.,
                                                  §
                                                 §
           Cross-Defendants.                     §
                                                 §


                                     EPROPOSED1 ORDER

       Before the Court is Match Group, LLC and IAC's Unopposed Motion to Set Briefing

Schedule and Page Limits. After considering the motion the Court hereby GRANTS the motion

and sets the briefing schedule and page limits as follows:

                            Event                                   Date/Page Limit
       MatchIIAC's Motion to Dismiss                         May 1, 2019/30 Pages


       Bumble's Response to Motion to Dismiss                May 20, 20 19/30 Pages


       Match/IC's Reply in Support of Motion to          May 31, 2019/15 Pages
       Dismiss
SIGNED this   t''   dayof   Ar;I        ,2019.




                       ALAN D. AL13RIGHT
                       UNITED STATES DISTRICT JUDGE
